                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                   AT CHATTANOOGA

UNITED STATES OF AMERICA                              )
                                                      )      Case No. 1:17-cr-24-TRM-SKL
                                                      )
v.                                                    )
                                                      )
                                                      )
VINCENT DENNIS                                        )


                             REPORT AND RECOMMENDATION

       Pursuant to 28 U.S.C. § 636(b), I conducted a plea hearing in this case on July 26, 2017.

 At the hearing, defendant moved to withdraw his not guilty plea to Count One of the four-count

Indictment and entered a plea of guilty to Count One of the Indictment, in exchange for the

undertakings made by the government in the written amended plea agreement.          On the basis of

the record made at the hearing, I find the defendant is fully capable and competent to enter an

informed plea; the plea is made knowingly and with full understanding of each of the rights

waived by defendant; the plea is made voluntarily and free from any force, threats, or promises,

apart from the promises in the amended plea agreement; the defendant understands the nature of

the charge and penalties provided by law; and the plea has a sufficient basis in fact.

       Therefore, I RECOMMEND defendant’s motion to withdraw his not guilty plea to

Count One of the Indictment be granted, his plea of guilty to Count One of the Indictment be

accepted, the Court adjudicate defendant guilty of the charges set forth in Count One of the

Indictment, and a decision on whether to accept the amended plea agreement be deferred until

sentencing. Defendant filed a motion to remain on bond after entry of his plea pending

sentencing pursuant to 18 U.S.C. §§ 3143(a) & 3145(c) with supporting sealed documents




Case 1:17-cr-00024-TRM-SKL           Document 49 Filed 07/28/17             Page 1 of 2    PageID
                                           #: 195
[Docs. 40 & 44].     The Government did not oppose the motion. I find exceptional reasons are

present in this matter. Therefore, Defendant's motion to remain on bond pending sentencing is

GRANTED [Doc. 40] and a separate Order has been entered on the record. I further

RECOMMEND Defendant remain on bond until sentencing in this matter. Acceptance of the

plea, adjudication of guilt, acceptance of the amended lea agreement, and imposition of sentence

are specifically reserved for the district judge.

                                               s/ fâátÇ ^A _xx
                                               SUSAN K. LEE
                                               UNITED STATES MAGISTRATE JUDGE


                                       NOTICE TO PARTIES

        You have the right to de novo review of the foregoing findings by the district judge.
Any application for review must be in writing, must specify the portions of the findings or
proceedings objected to, and must be filed and served no later than fourteen days after the plea
hearing. Failure to file objections within fourteen days constitutes a waiver of any further right
to challenge the plea of guilty in this matter. See 28 U.S.C. §636(b).




                                                    2


Case 1:17-cr-00024-TRM-SKL            Document 49 Filed 07/28/17          Page 2 of 2     PageID
                                            #: 196
